                    IN THE SUPREME COURT OF NORTH CAROLINA

                                          2021-NCSC-54

                                            No. 321A20

                                        Filed 23 April 2021

     IN THE MATTER OF: P.M., A.M., N.M.



           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from orders entered on 9 April

     2020 by Judge Joseph Moody Buckner in District Court, Orange County. This matter

     was calendared for argument in the Supreme Court on 19 March 2021 but determined

     on the record and briefs without oral argument pursuant to Rule 30(f) of the North

     Carolina Rules of Appellate Procedure.


           Stephenson &amp; Fleming, LLP, by Deana K. Fleming, for petitioner-appellee
           Orange County Department of Social Services.

           Q Byrd Law, by Quintin D. Byrd, for appellee Guardian ad Litem.

           Richard Croutharmel for respondent-appellant father.


           PER CURIAM.

¶1         Respondent-father appeals from the trial court’s orders terminating his

     parental rights to the minor children P.M. (Peter), A.M. (Alice), and N.M. (Nathan)

     (collectively “the children”).1 Counsel for respondent-father has filed a no-merit brief

     pursuant to Rule 3.1(e) of the North Carolina Rules of Appellate Procedure. We

     conclude the issues identified by counsel as arguably supporting the appeal are



           1 Pseudonyms are used for ease of reading and to protect the juveniles’ identities.
                                      IN RE P.M., A.M., N.M.

                                            2021-NCSC-54

                                         Opinion of the Court



     meritless, and therefore, we affirm the trial court’s orders.

¶2         On 23 March 2018, the Orange County Department of Social Services (DSS)

     obtained nonsecure custody of the children and filed petitions alleging that the

     children were neglected and dependent juveniles. The petitions alleged that DSS “was

     previously involved with the family in 2013 due to concerns [of] improper care” after

     the parents “left the children in the care of the maternal grandmother who was

     unable to provide for the children’s basic needs.” In February 2018, DSS became

     involved with the family due to concerns of sexual abuse, improper care, an injurious

     environment, and substance abuse. Specifically, there were concerns that two of the

     children were sexually abused by their paternal uncle. In addition, the children’s

     mother2 had “a history of heroin use[,] and the children . . . witness[ed] her suffer[ ]

     withdrawal symptoms.”

¶3         Further, the petitions alleged that the parents fled North Carolina with the

     children to avoid criminal charges but were arrested in Illinois. The children’s

     maternal grandmother retrieved the children from Illinois and brought them back to

     North Carolina. Moreover, the petitions alleged that the children “disclosed a history

     of domestic violence” between the parents and that the children had been “exposed .

     . . to [respondent-parent’s] illegal activities.” At the time the juvenile petitions were

     filed, respondent-father was serving a six-year prison sentence in the State of Illinois.


           2 The children’s mother is not a party to this appeal.
                                     IN RE P.M., A.M., N.M.

                                            2021-NCSC-54

                                          Opinion of the Court



¶4          On 9 July 2018, the trial court adjudicated the children to be neglected and

     dependent juveniles. Custody of the children remained with DSS. Respondent-father

     was ordered to complete a mental health assessment and follow recommendations,

     comply with random drug and alcohol screens, participate in a parenting class,

     maintain contact with DSS and notify DSS of any changes in circumstances within

     five   business   days,   complete    a   substance         abuse   assessment   and   follow

     recommendations, obtain and maintain sufficient legal income for himself and the

     children, obtain and maintain sufficient housing for himself and the children, and

     enroll in and complete a domestic violence class or program.

¶5          Following a permanency-planning hearing on 21 March 2019, the trial court

     entered an order on 30 April 2019. The trial court found that respondent-father was

     due to be released from incarceration in Illinois on 1 June 2020 and that he would be

     subject to post-release supervision until 1 June 2023. He was enrolled in anger

     management classes, parenting classes, and substance abuse treatment. However,

     the trial court found that respondent-father’s ability to complete the courses may be

     impacted as a result of him securing employment. While respondent-father accepted

     responsibility for the impact of his substance abuse on the children, he continued to

     deny any instance of domestic violence. The trial court changed the children’s primary

     permanent plan to adoption with a secondary permanent plan of reunification and

     ordered DSS to pursue termination of parental rights.
                                      IN RE P.M., A.M., N.M.

                                           2021-NCSC-54

                                         Opinion of the Court



¶6            On 4 September 2019, DSS filed petitions to terminate respondent-father’s

     parental rights on the grounds of (1) neglect and (2) willfully leaving the children in

     foster care or placement outside of the home for more than twelve months without

     making reasonable progress to correct the conditions that led to their removal. See

     N.C.G.S. § 7B-1111(a)(1)–(2) (2019). Following a hearing on 5 March 2020, the trial

     court entered orders on 9 April 2020 concluding that grounds existed to terminate

     respondent-father’s parental rights to the children based on both grounds alleged by

     DSS. The trial court further concluded that termination of respondent-father’s

     parental rights was in the children’s best interests. Accordingly, the trial court

     terminated respondent-father’s parental rights. Respondent-father appeals.

¶7            Counsel for respondent-father has filed a no-merit brief on his client’s behalf

     under Rule 3.1(e) of the Rules of Appellate Procedure. In his brief, counsel identified

     three issues that could arguably support an appeal but also explained why he believed

     these issues lacked merit. Counsel has advised respondent-father of his right to file

     pro se written arguments on his own behalf and provided him with the documents

     necessary to do so. Respondent-father has not submitted written arguments to this

     Court.

¶8            We independently review issues identified by counsel in a no-merit brief filed

     pursuant to Rule 3.1(e). In re L.E.M., 372 N.C. 396, 402, 831 S.E.2d 341, 345 (2019).

     After conducting a review of the entire record and the issues identified by counsel in
                                   IN RE P.M., A.M., N.M.

                                       2021-NCSC-54

                                     Opinion of the Court



the no-merit brief, we are satisfied the trial court’s 9 April 2020 orders are supported

by clear, cogent, and convincing evidence and based on proper legal grounds.

Accordingly, we affirm the trial court’s orders terminating respondent-father’s

parental rights in the children.

      AFFIRMED.
